976 F.2d 747
    NOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.John GUY, Claimant-Appellant,v.Edward J. DERWINSKI, Secretary of Veterans Affairs,Respondent-Appellee.
    No. 92-7028.
    United States Court of Appeals, Federal Circuit.
    Aug. 12, 1992.
    
      Before CLEVENGER, Circuit Judge, COWEN, Senior Circuit Judge, and RADER, Circuit Judge.
      PER CURIAM.
    
    
      1
      John Guy seeks review of the judgment of the United States Court of Veterans Appeals dismissing his appeal as untimely.   Mr. Guy challenges only the application of a law to his case.   No issue is raised which falls within the jurisdiction of this court under 38 U.S.C.A. § 7292(d)(1)-(2) (West 1991).   Accordingly, the appeal is  dismissed.   See Livingston v. Derwinski, 959 F.2d 224 (Fed.Cir.1992).
    
    